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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

Case No. 4-20281

SEALED DOCUMENT PLACED IN VAULT

ORDER granting [66]Sealed Motion to Travel as to Danny Winberry

Document No. 67

 

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This notice confirms a copy of the document docketed as number 67 in
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Honorable Bernice Donald
US DISTRICT COURT

